                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )      COLLIER/CARTER
                                              )
        v.                                    )      CASE NO. 1:10-CR-75
                                              )
 ERNEST EUGENE FRADY                          )


                                            ORDER

        On December 6, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture five grams or more of

 methamphetamine (actual), a Schedule I controlled substance, in violation of 21 USC §§ 846,

 841(a)(1) and 841(b)(1)(B), in exchange for the undertakings made by the government in the written

 plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in the lesser

 included offense in Count One of the Indictment; (c) that a decision on whether to accept the plea

 agreement be deferred until sentencing; and (d) Defendant shall be taken into custody pending

 sentencing in this matter (Court File No. 368). Neither party filed an objection within the given

 fourteen days. After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report

 and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;



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        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

        (4) Defendant SHALL BE TAKEN INTO CUSTODY pending sentencing on Friday,

 April 15, 2011, at 2:00 pm.

        SO ORDERED.

        ENTER:


                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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